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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS



 FOUR WOMEN HEALTH SERVICES, LLC

                               Plaintiff,

                        v.                               Case No.: 24-12283

 ABUNDANT HOPE PREGNANY RESOURCE
 CENTER INC., d/b/a ATTLEBORO WOMEN’S
 HEALTH CENTER, CATHERINE ROMAN,
 NICOLE CARGES, and DARLENE HOWARD,


                               Defendants.


                              AFFIDAVIT OF ROBERT KNAPP

       I, Robert Knapp, hereby declare and state as follows:

       1. I am the Senior Manager of Incident Response at Rapid7 in Austin, Texas. I make

this declaration in support of Four Women Health Services, LLC’s (“Four Women”) Complaint

against Abundant Hope Pregnancy Resource Center d/b/a Attleboro Women’s Health Center

(“AWHC”), Catherine Roman, Nicole Carges, and Darlene Howard (collectively, “Defendants”).

I make this declaration from my personal knowledge of the facts set forth below, unless

specifically indicated otherwise.

       I.      Educational & Professional Background

       2. I earned my degree in Computer Information Systems and Computer Forensics at

Saginaw Valley State University in Saginaw, Michigan.

       3. I began working in digital security in my role working at Quicken Loans in Detroit,

Michigan, where I worked for three and a half years as an Information Security Analyst. As an


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Information Security Analyst, I was responsible for leading analysis on high-visibility data

security incidents to determine their impacts on targeted businesses.

       4. I joined Rapid7 in 2017.

       5. Rapid7 works with companies around the world to provide cybersecurity solutions by

analyzing vulnerabilities, misconfigurations, and threat data to enable companies to inform,

build, and improve their security programs. Specifically, clients rely on Rapid7 for Managed

Detection and Response (“MDR”), a service that prioritizes the handling of detection and

response capabilities on behalf of the client.

       6.    I was hired in 2017 as an Incident Response Consultant and was promoted to a

Senior Incident Response Consultant in 2018. In these roles, I conducted digital forensic

analysis and gap assessments relating to client security incidents, such as those relating to cloud

and data security, application security, endpoint security, and a wide array of cyberattacks,

including ransomware and malware attacks and Man-in-the-Middle (MITM) attacks.

       7. In February 2020, I became a Principal Incident Response Consultant, in which role I

developed incident response and management processes and procedures.

       8. I currently serve as the Senior Manager of Incident Response, which role I have held

since 2021. I manage a global team of Incident Response Consultants and oversee the successful

delivery of incident response services for approximately 2,000 MDR customers.

       9. I have over ten years of experience investigating and assessing digital security risks

and breaches.

       II.      Four Women Engagement

       10. Rapid7 was engaged by Four Women in June 2024 to evaluate a suspected

cybersecurity incident involving patient communications and data.

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       11. Rapid7 was informed that Four Women was aware of multiple instances in which

Four Women patients received phone calls from AWHC on their cell phones shortly after

communicating with Four Women to schedule appointments.

       12. Rapid7 was engaged to assess Four Women’s potential security risks associated with

its web-based platforms and offer insight into possible explanations of how AWHC may have

been accessing Four Women patient information, including names, phone numbers, and details

about the appointments being made.

       13. I handled the analysis directly, as part of my professional capacity while employed by

Rapid7. My investigation included a review and examination of Four Women’s website, along

with Four Women’s account pages connected with electronic platforms managed by third-party

vendors, Klara Technologies, Inc. (“Klara”), and to a lesser degree, Athenahealth, Inc.

(“Athena”).

       III.    Four Women’s Web Presence

       14. Based on my review of Four Women’s website and the web-based applications that

are connected to its website, I developed the following understanding.

       15. Four Women’s website is a standard HTML web page accessible via desktop

computer or mobile device. It contains headers and title tags, body content, social media

buttons, and images.

       16. Four Women’s website also contains a widget that allows prospective patients to click

on it and make appointments or send messages to Four Women staff. A widget is a small

software component or application that can be used on multiple software platforms, often used to

provide specific functions or to allow users to interact with an application.




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       17. The widget on Four Women’s website is hosted by a platform managed by Klara and

appears on Four Women’s website as follows:




       18. Klara is a third-party vendor that purports to offer a secure messaging platform for

medical providers. It is cloud-based and can be most accurately described as “software as a

service.” Under the software as service model, the contracting entity, in this case Four Women,

does not manage the platform. All data resides with Klara. It is my understanding that Klara

owns or manages all the machines that store its data.

       19. A prospective patient may book appointments using the Klara widget. When a

prospective patient opts to make an appointment using the Klara widget on the Four Women

website, she must select the service, provider, and date of her choice.




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       20. When a prospective patient opts to send a message to Four Women via the Klara

widget on the Four Women website, she must provide her cell phone number so that Four

Women staff may respond to her inquiry.

       21. Four Women staff may then respond to the prospective patient using Four Women’s

Klara page, which is accessible via computer or mobile device.

       22. The messages between inquiring patients and Four Women staff are not visible or

stored anywhere on Four Women’s website. These communications only appear on the Klara

platform.

       23. The appointment information—including the patient’s name, phone number, and

appointment type—is instantaneously uploaded to Athena, a third-party electronic health record

system that Four Women uses to manage patient health records and information.

       24. Athena, like Klara, is cloud-based and may best be described as “software as service.”

Athena manages Four Women’s electronic medical records (“EMR”) system.

       25. The Athena platform stores patient records, appointments, and information, but does

not include a function for patients to send or receive messages.

       26. Communications between Four Women and patients made using the Klara messaging

service are not linked to or stored on the Athena platform.

       27. Four Women’s patient visitation schedule resides on the Athena platform.

       IV.     Conclusion

       28. Based on my assessment of the information available to me, including Four Women’s

website and third-party web-based platforms, Rapid7 has concluded that the Klara platform and




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Athena platform are the most likely points through which AWHC may have accessed Four

Women patient information.




      I declare under penalty of perjury that the foregoing is true and correct.



      Dated: September 5, 2024

                                                                    _____________________

                                                                    Robert Knapp




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